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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


 GINA YOB,

       Plaintiff,
                                                        Case No. 1:21-cv-617
 v.
                                                        HONORABLE PAUL L. MALONEY
 COMMISSIONER OF SOCIAL SECURITY,

       Defendant.
 _____________________________________/


                                        JUDGMENT

      In accordance with the Order entered this date:

      IT IS HEREBY ORDERED that Judgment enters.




Dated: November 29, 2021                                   /s/ Paul L. Maloney
                                                          Paul L. Maloney
                                                          United States District Judge
